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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :      Case No. 17-161-02 (TSC)
                                               :
HINA ALVI                                      :

         NOTICE OF ASSIGNMENT AND SUBSTITUTION OF APPEARANCE

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney T. Anthony

Quinn, Bar Number 415-213, telephone number (202) 252-7558, is now assigned as counsel for

the United States, and this is notice of his appearance in this matter on behalf of the United States.

                                               Respectfully submitted,

                                               JESSIE K. LIU
                                               United States Attorney

                                               MARGARET J. CHRISS
                                               Chief, Special Proceedings Division

                                               __________/S/_________________________
                                               T. ANTHONY QUINN
                                               D.C. Bar No. 415-213
                                               United States Attorney=s Office
                                               Special Proceedings Division
                                               555 Fourth Street, NW
                                               Washington, D.C. 20530
                                               202-252-7558

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of the foregoing to be served on defendant’s
counsel of record, Nikki Lotze, Esquire, on this 10th day of October, 2018.

                                               __________/S/_________________
                                               T. ANTHONY QUINN
                                               Assistant United States Attorney
